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                                              No. 24-12217-FF

             IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT
               ________________________________________

                               STATE OF FLORIDA, ET AL.,
                                                  Plaintiffs-Appellants,
                                          V.

              CENTERS FOR MEDICARE AND MEDICAID
                          SERVICES, ET AL.,
                                            Defendants-Appellees.
               ________________________________________
                On Appeal from the United States District Court
                      for the Middle District of Florida
                      Case No. 8:24-cv-317-WFJ-AAS
                _________________________________________________________________________________________________


                                            OPENING BRIEF
                _________________________________________________________________________________________________




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                                                                     Health Care Administration
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                              Docket No. 24-12217-FF
            State of Florida v. Centers for Medicare and Medicaid Services

             CERTIFICATE OF INTERESTED PERSONS AND
               CORPORATE DISCLOSURE STATEMENT
        Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rules 26.1-1 through 26.1-3, Plaintiffs-Appellants provide this

Certificate of Interested Persons and Corporate Disclosure Statement. To the

best of Plaintiffs-Appellants’ knowledge, the following persons and entities may

have an interest in the outcome of this case:

   1.     Bagenstos, Samuel R.

   2.     Becerra, Xavier

   3.     Boynton, Brian M.

   4.     Breckenhauer, Eric B.

   5.     Brooks-LaSure, Chiquita

   6.     Centers for Medicare and Medicaid Services

   7.     Christmas, Natalie

   8.     Department of Health and Human Services

   9.     Dos Santos, Joshua

   10.    Florida, State of

   11.    Florida Agency for Health Care Administration

   12.    Goldberg, Lindsay S.

   13.    Hoffman, Janice L.
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                             Docket No. 24-12217-FF
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   14.   Jung, William F.

   15.   Kelson, Jared M.

   16.   Lyons, Susan Maxson

   17.   McCotter, R. Trent

   18.   McMahon, Madeline

   19.   Moody, Ashley

   20.   Rodriguez, Paul R.

   21.   Ruppalt, Laura B.

   22.   Salzman, Joshua Marc

   23.   Sansone, Amanda Arnold

   24.   Sheeran, Andrew T.

   25.   Whitaker, Henry Charles

      Pursuant to Eleventh Circuit Rule 26.1-3(b), Plaintiffs-Appellants are

unaware of any publicly traded company or corporation that has an interest in

the outcome of this appeal.


Dated: September 18, 2024                    /s/ Jared M. Kelson
                                             Jared M. Kelson
                                             Counsel for Florida Agency for
                                             Health Care Administration


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            STATEMENT REGARDING ORAL ARGUMENT

       Plaintiffs-Appellants respectfully request oral argument. This case

involves complex and recurring issues of preclusion and administrative law.

Oral   argument would substantially aid the Court in its resolution of the case.




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                    STATEMENT OF JURISDICTION

      The district court dismissed this case for lack of jurisdiction on May 31,

2024. Florida timely appealed on July 8, 2024. This Court has jurisdiction under

28 U.S.C. § 1291.




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                               INTRODUCTION

        On October 27, 2023, the Centers for Medicaid and Medicare Services

(“CMS”) issued a document mislabeled “Frequently Asked Questions” that

fundamentally transformed the Children’s Health Insurance Program (“CHIP”)

into an entitlement, imposed new obligations on States, and purported to “end”

a conflicting agency regulation without notice-and-comment. Doc.1-4, at 1

(FAQs).1 The FAQs are clearly unlawful. But when the State of Florida and its

Agency for Health Care Administration (collectively, “Florida”) sued under the

Administrative Procedure Act (“APA”), the district court invoked the

framework in Thunder Basin Coal Co. v. Reich, 510 U.S. 200 (1994), concluded its

jurisdiction was impliedly precluded by 42 U.S.C. § 1316(a), and dismissed the

case.

        CHIP is a cooperative federal-state program under Title XXI of the Social

Security Act that provides subsidized health insurance for children in low-

income families who do not qualify for free coverage under Medicaid. 42 U.S.C.

§ 1397aa et seq. States develop and administer their own CHIP plans, and the




        1
        Mandatory Continuous Eligibility for Children in Medicaid and CHIP:
Frequently Asked Questions (“FAQs”), https://www.medicaid.gov/federal-
policy-guidance/downloads/faq102723.pdf.


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federal government provides funds to help defray the costs of programs that meet

minimum requirements. Id. States must submit their CHIP plans and any

subsequent amendments for CMS to determine if they “substantially comply”

with those requirements as a condition of receiving federal funds. Id. § 1397ff.

      Congress has been clear that nothing in Title XXI “shall be construed as

providing an individual with an entitlement.” Id. § 1397bb(b)(5). Title XXI thus

allows States to require “premiums, deductibles, coinsurance, and other cost

sharing.” Id. § 1397cc(e)(1)(A). Florida has always collected monthly premiums

as a condition of enrollment, currently ranging from $15 to $20 per family

regardless of the number of children enrolled. Those premiums offset program

costs, ensure Florida maintains a balanced budget as mandated by its state

constitution, and preserve Florida CHIP as a bridge between Medicaid and

private insurance.

      Title XXI allows States to disenroll CHIP participants for nonpayment of

premiums. See id. § 1397cc(e)(3)(C). CMS has promulgated regulations allowing

disenrollment for the same reason, including during periods of “continuous

eligibility.” 42 C.F.R. § 457.342(b). Eligibility is the determination that someone

qualifies to participate in CHIP—e.g., meets the State’s income, residency, and

age requirements—and States generally don’t reconsider that determination



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during “continuous eligibility” periods. Enrollment means the participant is not

only eligible but has agreed to participate in CHIP and will pay any required

enrollment costs and monthly premiums. Congress and CMS have consistently

distinguished these terms for decades.

      In the Consolidated Appropriations Act, 2023 (“2023 CAA”), Congress

amended Title XXI to require that States provide CHIP participants with 12

months of “continuous eligibility.” Pub. L. No. 117-328, § 5112, 136 Stat. 4459,

5940 (2022). The 2023 CAA says nothing about enrollment or premiums.

Nevertheless, the FAQs prohibit States from disenrolling CHIP participants for

nonpayment of premiums during these continuous eligibility periods and

purport to “end” the provision in 42 C.F.R. § 457.342(b) that expressly allows

such disenrollment. Doc.1-4, at 1 (FAQs). The FAQs thus attempt to transform

CHIP into an entitlement program where participants cannot be disenrolled

during a 12-month period regardless of whether they pay required premiums.

      On February 1, 2024, Florida sued CMS2 in the United States District

Court for the Middle District of Florida. The complaint claimed the FAQs are




      2
     Plaintiffs-Appellants sued CMS, the CMS Administrator, HHS, and the
HHS Secretary (collectively, “CMS”).


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contrary to law, in excess of authority, arbitrary and capricious, and failed to

comply with the procedural requirements of the APA. See 5 U.S.C. § 706.

Florida simultaneously moved for a preliminary injunction relief, arguing that it

would suffer irreparable sovereign and monetary harms from the FAQs.

      The district court never reached any of these issues. Instead, it agreed with

CMS that section 1316(a) impliedly precludes district-court jurisdiction under

Thunder Basin. The district court reasoned that section 1316(a) “provides for

administrative review of state CHIP plans,” and that Florida’s claims are “of the

type congress intended to be reviewed” under that scheme. Doc.32, at 9–10

(Dist.Ct.Order).

      The district court erred because a special statutory review scheme can

impliedly preclude jurisdiction only when it “displays a ‘fairly discernible’ intent

to limit jurisdiction, and the claims at issue ‘are of the type Congress intended

to be reviewed within the statutory structure.’” Free Enter. Fund v. PCAOB, 561

U.S. 477, 489 (2010) (cleaned up) (quoting Thunder Basin, 510 U.S. at 207, 212).

Courts first consider the relevant statute’s “text, structure, and purpose.” Elgin

v. Dep’t of Treasury, 567 U.S. 1, 10 (2012). They also “presume that Congress

does not intend to limit jurisdiction” where (1) “‘preclusion could foreclose all

meaningful judicial review,’” (2) “the suit is ‘wholly collateral to a statute’s



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review provisions,” and (3) “the claims are ‘outside the agency’s expertise’”—

commonly referred to as the Thunder Basin factors. Free Enter. Fund, 561 U.S. at

489 (quoting Thunder Basin, 510 U.S. at 212–13).

      The text of section 1316(a) makes clear that it applies only to

“determination[s]” about whether an individual state CHIP plan or plan

amendment “submitted … for approval” conforms to applicable federal

requirements. 42 U.S.C. § 1316(a)(1). Florida is not challenging the disapproval

of any state CHIP plan or plan amendment. The structure and purpose of section

1316(a) also demonstrate that Congress provided for administrative review of

only a narrow subset of possible claims that do not include the APA issues in

this case, including the scope of CMS’s authority and procedural requirements

for rulemaking. That is enough for the district court to exercise jurisdiction.

      The Thunder Basin factors confirm that the claims in this case are not “the

type Congress intended to be reviewed” under section 1316(a). Thunder Basin,

510 U.S. at 212. Implied preclusion of district-court jurisdiction “could foreclose

all meaningful judicial review,” id. at 212–13, because Florida might never

receive a “determination” reviewable under section 1316(a), and future judicial

review would not be able to remedy the harms Florida suffers in the meantime.

Florida’s claims are also “wholly collateral,” id., because they don’t request the



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review of any determination on a state CHIP plan or plan amendment, don’t

involve the type of claim regularly adjudicated by CMS in that context, and

don’t seek the kind of remedy that those proceedings routinely afford. And

Florida’s claims are “outside the agency’s expertise,” id., because they involve

straightforward “statutory questions” and “standard questions of administrative

law, which the courts are at no disadvantage in answering,” not “technical

considerations of agency policy” or “fact-bound inquiries,” Free Enter. Fund, 561

U.S. at 491 (cleaned up).

      This Court should reverse.

                       STATEMENT OF THE ISSUES

      Whether 42 U.S.C. § 1316(a) impliedly precludes district court

jurisdiction to review an agency rule—mislabeled “Frequently Asked

Questions”—issued by the Centers for Medicare and Medicaid Services that

imposes new obligations on States and purports to amend its regulations.

                        STATEMENT OF THE CASE

 I.   BACKGROUND

      A.    CHILDREN’S HEALTH INSURANCE PROGRAM

      CHIP is a cooperative federal-state program under Title XXI of the Social

Security Act that provides subsidized health insurance for children in low-




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income families who do not qualify for Medicaid. 42 U.S.C. § 1397aa et seq.

States develop and administer their own CHIP plans, and the federal

government provides funds to help defray the costs of programs that meet

minimum requirements. Id. States have considerable flexibility to select the

standards used “to determine the eligibility of targeted low-income children,”

which often include age, family income, and residency requirements. Id.

§ 1397bb(b)(1); 42 C.F.R. § 457.320. Once a child is determined to be eligible, the

child may then enroll and obtain insurance coverage.

      Congress has been clear that CHIP is not an entitlement program. 42

U.S.C. § 1397bb(b)(5) (“Nothing in [Title XXI] shall be construed as providing

an individual with an entitlement to child health assistance under a State child

health plan.”). States may require “premiums, deductibles, coinsurance, and

other cost sharing” as a condition of enrollment. Id. § 1397cc(e)(1)(A); 42 C.F.R.

§ 457.510. They can also disenroll CHIP participants for nonpayment of

premiums after sufficient notice and a grace period for late payment. See 42

U.S.C. § 1397cc(e)(3)(C); 42 C.F.R. §§ 457.342(b), 457.570; see also id. pt. 457,

subpt. E.

      CMS administers CHIP on behalf of the federal government. To receive

federal funds, States must submit their CHIP plans and any amendments for



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CMS to determine if they “substantially comply” with federal requirements. 42

U.S.C. § 1397ff. If CMS subsequently concludes that a State is in “substantial

noncompliance” with federal requirements, CMS must withhold federal funds

after providing notice and a reasonable opportunity for correction. Id.

§ 1397ff(d)(2); see 42 C.F.R. § 457.204.

      B.     CONTINUOUS ELIGIBILITY

      Prior to 2024, the Social Security Act gave States the option to provide

children up to twelve months of “continuous eligibility” for Medicaid. 42 U.S.C.

§ 1396a(e)(12) (2022). A child “determined to be eligible for benefits” remained

“eligible for those benefits” during the continuous eligibility period, even if the

child’s circumstances changed in a way that would otherwise make the child

ineligible—e.g., the child’s family income increased above the eligibility

threshold. Id.

      CMS regulations specified five exceptions to Medicaid continuous

eligibility: (1) “[t]he child attains the maximum age specified” by the State, (2)

“[t]he child or child’s representative requests a voluntary termination of

eligibility,” (3) “[t]he child ceases to be a resident of the State,” (4) “eligibility

was erroneously granted … because of agency error or fraud, abuse, or perjury,”

or (5) “[t]he child dies.” 42 C.F.R. § 435.926(d).




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      States also had the option under CMS regulations to provide continuous

eligibility to CHIP participants. Id. § 457.342(a). CMS incorporated the same

five exceptions from Medicaid for CHIP continuous eligibility, and further

provided that CHIP participants may “be terminated during the continuous

eligibility period for failure to pay required premiums or enrollment fees.” Id.

§ 457.342(b).

      In the 2023 CAA, Congress amended the Social Security Act to require

that “an individual who is under the age of 19 and who is determined to be

eligible for benefits under a State [Medicaid] plan … shall remain eligible for

such benefits” for twelve months following the eligibility determination, unless

the individual “attains the age of 19” or “ceases to be a resident of such State.”

Pub. L. No. 117-328, § 5112(a), 136 Stat. at 5940 (amending 42 U.S.C.

§ 1396a(e)(12)). Congress made the same requirement applicable to CHIP by

reference in 42 U.S.C. § 1397gg(e)(1), which lists Medicaid provisions that shall

apply “in the same manner” to CHIP. See Pub. L. No. 117-328, § 5112(b), 136

Stat. at 5940 (amending 42 U.S.C. § 1397gg(e)(1)(K)). Both became effective




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January 1, 2024. Id. § 5112(c), 136 Stat. at 5940. 3

      C.    FLORIDA CHIP

      In 1990, pre-dating CHIP, Florida established one of the first state-

sponsored programs to offer subsidized health insurance to children in low-

income families who did not qualify for Medicaid. The program began as a

demonstration project under the Omnibus Budget Reconciliation Act of 1989,

Pub. L. No. 101-239, § 6407, 103 Stat. 2106, 2266, which required States to

charge premiums to participating families, id. § 6407(c)(2), 103 Stat. at 2266.

      When Congress established CHIP in 1997, it grandfathered programs in

three states—Florida, New York, and Pennsylvania—into the federal initiative

because they already provided “comprehensive … coverage” to children. 42

U.S.C. § 1397cc(a)(3), (d). The grandfathering provisions allowed those States

to both maintain and modify their existing programs within broad limits. Id.

Florida subsequently transferred administration of its program to “Florida

KidCare,” an umbrella program created to oversee Florida Medicaid and CHIP.




      3
         Congress also provided that “if the [CHIP participant] becomes eligible
for full benefits under” Medicaid, the participant can be transferred to Medicaid
for the “remaining duration of the 12-month continuous eligibility period.” 42
U.S.C. § 1397gg(e)(1)(K).


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Doc.1-2 (Florida KidCare Program).4 Florida CHIP continued to require

premium payments and provided a 6-month period of continuous eligibility for

CHIP participants (later extended to 12 months). Id. at 83. Eligible participants

could still be disenrolled for nonpayment of premiums. Id. at 97–98, 177–78.

      Florida CHIP is a personal responsibility program intended to bridge the

gap between families with low incomes who receive free health insurance

through Medicaid and families with higher incomes who must obtain insurance

on their own. See Fla. Stat. §§ 409.812–.813; Staff of Florida H.R. Health Care

Servs. Comm., Review of the Implementation of the Florida KidCare Act 7–8 (Sept.

1999), https://perma.cc/8NH4-MHBD. Cost-sharing is also vital to its ongoing

operation and sustainability. Participating families must pay monthly premiums

that currently range from $15 to $20 total, regardless of the number of children

enrolled. Doc.1-2, at 22–23, 176–77 (Florida KidCare Program). The more than

$30 million collected annually helps offset program costs and ensure that Florida

meets the balanced budget requirement in its Constitution. See Fla. Const. art.




      4
         State of Florida, Florida KidCare Program (Mar. 11, 2021),
https://perma.cc/SJA7-GZQD.


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III, § 19(a); id. art. VII, § 1(d); Staff of Florida H.R. Health Care Servs. Comm.,

supra, at 7–8; Doc.1-1, at ¶¶ 4, 6–7 (Noll Decl.).

      Florida law requires the disenrollment of CHIP participants for failure to

pay required premiums. Fla. Stat. §§ 409.8132(8), 624.91(5)(b)(9). Participants

disenrolled during a period of continuous eligibility, however, may re-enroll for

the next month upon payment of the necessary premium without a new

eligibility determination.

      D.    STATE HEALTH OFFICIAL LETTER AND FREQUENTLY ASKED
            QUESTIONS

      On September 29, 2023, CMS issued a State Health Official (“SHO”)

Letter notifying States that they must provide 12 months of continuous eligibility

for Medicaid and CHIP participants, during which they cannot terminate that

eligibility except in certain circumstances. Doc.1-3, at 4–5 (SHO Letter).5 The

SHO Letter relied on the 2023 CAA amendments for the change. And although

the 2023 CAA amendments explicitly provide for only two exceptions to

continuous eligibility—reaching the age of 19 or ceasing to be a resident of the




      5
        CMS, SHO #23-004, Section 5112 Requirement for all States to Provide
Continuous Eligibility to Children in Medicaid and CHIP Under the Consolidated
Appropriations Act, 2023 (Sept. 29, 2023), https://www.medicaid.gov/federal-
policy-guidance/downloads/sho23004.pdf.


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State—the SHO Letter instructed States that they were “expected to” continue

terminating Medicaid and CHIP eligibility during the continuous eligibility

period for all five reasons specified in existing Medicaid regulations. Id.; 42

C.F.R. §§ 435.926(d), 457.342(b). The SHO Letter added that CMS was “still

assessing how non-payment of premiums intersects with [continuous eligibility]

under the CAA.” Doc.1-3, at 4 n.14 (SHO Letter).

      The next month, on October 27, 2023, CMS issued the FAQs. In response

to the question “can states terminate CHIP coverage during a continuous

eligibility (CE) period due to non-payment of premiums?” the FAQs answered,

“No.” Doc.1-4, at 1 (FAQs). The FAQs continued that “[t]here is not an

exception to [continuous eligibility] for non-payment of premiums” under the

2023 CAA amendments, and so the “existing regulatory option at 42 CFR

§ 457.342(b) for states … to consider non-payment of premiums as an exception

to [continuous eligibility] will end on December 31, 2023.” Id.

      The FAQs provided, however, that “States will continue to have the

option to institute an enrollment fee in CHIP” and require its payment prior to

enrollment, and that States may also “require payment of the first month’s

premium prior to enrolling a child.” Id. But they added that CMS regulations

“exclude” unpaid premiums from federal cost-sharing, id. at 2, so States must



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absorb those costs. The FAQs were clear that nonconforming States “will need

to” submit amendments to their CHIP plans. Id. at 1.

II.   PROCEDURAL HISTORY

      On February 1, 2024, Florida sued CMS because the FAQs violate the

APA. 5 U.S.C. § 706(2)(A), (C), (D). Florida explained that the FAQs transform

CHIP into an entitlement program where participants cannot be disenrolled

regardless of whether they pay required premiums—it becomes pay for one

month, get eleven months for free.

      Florida argued that the FAQs are contrary to law because nothing in Title

XXI “shall be construed as providing an individual with an entitlement.” 42

U.S.C. § 1397bb(b)(5). Nor can the FAQs be reconciled with the provisions of

Title XXI that allow “termination of coverage” for “failure to make a premium

payment” if the State provides sufficient notice and a grace period for late

payment. Id. § 1397cc(e)(3)(C). And the FAQs violate CMS regulations, which

expressly permit States to terminate coverage “during the continuous eligibility

period for failure to pay required premiums.” 42 C.F.R. § 457.342(b); see, e.g.,

United States v. Nixon, 418 U.S. 683, 695–96 (1974) (“So long as this regulation

is extant it has the force of law.”).




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      Florida continued that CMS exceeded its authority because the 2023 CAA

amendments provide only that children “determined to be eligible for benefits

under a State plan … shall remain eligible for such benefits” for twelve months,

unless the individual reaches age 19 or moves out of the State. 42 U.S.C.

§§ 1396a(e)(12) (emphases added), 1397gg(e)(1)(K). They do not authorize or

require continuous enrollment. Nor do they change the clear statement in Title

XXI—which includes the new continuous eligibility requirement—that none of

its provisions “shall be construed as providing an individual with an

entitlement.” Id. § 1397bb(b)(5). Congress has long distinguished CHIP

eligibility and CHIP enrollment,6 as has CMS,7 including that enrollment may



      6
       See, e.g., 42 U.S.C. § 1397bb(b)(4) (discussing “barriers to the enrollment”
of “eligible” individuals); id. § 1397hh(c)(3) (“enrollees, disenrollees, and
individuals eligible for but not enrolled” in a CHIP plan); id. § 1397mm(a)(1)
(“efforts … to increase the enrollment … of eligible children”); id.
§ 1397mm(h)(1) (“campaigns to link the eligibility and enrollment systems”); id.
§ 1397mm(h)(6) (“enrollment … strategies for eligible children”).
      7
       See, e.g., 42 C.F.R § 457.60(b)(1) (distinguishing “[e]ligibility standards,
enrollment caps, and disenrollment policies”); id. § 457.10 (discussing
information in an “eligibility notice,” including the potential impact of a
“determination of eligibility for, or enrollment in, another insurance
affordability program”); id. § 457.300(c) (“[r]egulations relat[ed] to eligibility,
screening, applications and enrollment”); id. § 457.525(b) (cost-sharing
information must be made available to “[e]nrollees, at the time of enrollment
                             (footnote continued on next page)



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require additional steps like paying an enrollment fee or monthly premiums. See

42 C.F.R. § 457.510. In fact, Congress considered, but did not enact, the

continuous enrollment requirement that the FAQs impose.8

      Florida also argued that the FAQs are arbitrary and capricious because

they are internally inconsistent, unreasonably explained, and fail to address

important considerations. See, e.g., Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983). The FAQs disclaim the ability

to consider “an exception to [continuous eligibility] for non-payment of

premiums” that is not in the 2023 CAA amendments, but simultaneously assert

flexibility to retain other preferred exceptions that also do not appear in the 2023

CAA amendments. Doc.1-4, at 1 (FAQs). CMS further had not explained why

States could “institute an enrollment fee in CHIP” and “require payment of the

first month’s premium,” but not subsequent premiums, nor why the justification




and reenrollment after a redetermination of eligibility”); id. § 457.570(b)
(adjustment to a “child’s cost-sharing category” if “the enrollee may have
become eligible … for a lower level of cost sharing.”).
      8
         See Stabilize Medicaid and CHIP Coverage Act of 2021, S. 646, 117th
Cong. § 3(b)(1) (2021) (requiring that “an individual who is determined to be
eligible for benefits … shall remain eligible and enrolled for such benefits” for a
specified period (emphasis added)); Stabilize Medicaid and CHIP Coverage Act,
H.R. 1738, 117th Cong. § 2(b)(1) (2021) (same).


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for CMS’s preferred exceptions—they “do not undermine the [continuous

eligibility] mandate … and are important to protecting program integrity”—does

not apply equally to allowing disenrollment for nonpayment of premiums. Id.

And CMS entirely failed to consider the authority granted to States, like Florida,

whose plans were grandfathered into CHIP, see 42 U.S.C. § 1397cc(a)(3), (d),

and the interests of States that relied on their ability to terminate coverage for

nonpayment of premiums when implementing and expanding their CHIP plans.

          Finally, Florida argued that the FAQs failed to comply with the APA’s

procedural requirements. Because the FAQs purport to amend a substantive

regulation issued through notice-and-comment rulemaking, they are a legislative

rule that can only be issued through notice-and-comment rulemaking. See, e.g.,

Am. Mining Cong. v. Mine Safety & Health Admin., 995 F.2d 1106, 1112 (D.C. Cir.

1993). Florida thus asked the court to vacate the FAQs and issue preliminary

relief.

          CMS responded that the Social Security Act impliedly precludes district-

court jurisdiction. CMS also argued that the claims were not ripe for




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adjudication,9 and that a preliminary injunction would be inappropriate because

the FAQs are lawful, Florida does not face irreparable harm, and the equities do

not favor Florida.

      On May 31, 2024, the district court dismissed the case after concluding

that 42 U.S.C. § 1316(a) impliedly precludes jurisdiction, citing Thunder Basin.

Doc.32 (Dist.Ct.Order). The court pointedly observed that “the 2023 CAA

amendments did not discuss CHIP enrollment for CHIP eligible children.” Id. at

4 (emphasis in original). But the court determined that section 1316(a) “provides

for administrat[ive] review of state CHIP plans,” and Florida’s claims are “of

the type congress intended to be reviewed” under that scheme. Id. at 9.

      Florida timely appealed.

                     SUMMARY OF THE ARGUMENT

      The district court erred in dismissing this case for lack of jurisdiction.

Section 1316(a) does not display a “fairly discernible” intent to impliedly

preclude jurisdiction over the APA claims here. Its text, structure, and purpose




      9
        But see Club Madonna, Inc. v. City of Miami Beach, 924 F.3d 1370, 1380
(11th Cir. 2019) (“A facial challenge presenting a purely legal argument … ‘is
presumptively ripe for judicial review’ because that type of argument does not
rely on a developed factual record.” (quoting Harris v. Mexican Specialty Foods,
Inc., 564 F.3d 1301, 1308 (11th Cir. 2009))).


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make clear that the review scheme is narrow, applying only to

“determination[s]” about whether an individual state CHIP plan or plan

amendment “submitted … for approval” conforms to applicable federal

requirements. 42 U.S.C. § 1316(a)(1). Florida is not challenging any

“determination” on a state CHIP plan or plan amendment, but rather a final rule

issued by CMS.

      The Thunder Basin factors confirm that the APA claims in this case are not

“the type Congress intended to be reviewed” under section 1316(a). Thunder

Basin, 510 U.S. at 212. Implied preclusion of district-court jurisdiction “could

foreclose all meaningful judicial review,” id. at 212–13, because Florida might

never receive a “determination” reviewable under section 1316(a), and future

judicial review would not be able to remedy Florida’s here-and-now injuries.

The claims are also “wholly collateral to a statute’s review provisions,” id.

(cleaned up), because they don’t request the review of any state CHIP plan

disapproval under section 1316(a), don’t involve the type of claim regularly

adjudicated by CMS, and don’t seek the kind of remedy that CMS routinely

affords. And Florida’s claims are “outside the agency’s expertise,” id., because

they involve straightforward “statutory questions” and “standard questions of

administrative law, which the courts are at no disadvantage in answering,” not



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“technical considerations of agency policy” or “fact-bound inquiries,” Free Enter.

Fund, 561 U.S. at 491 (cleaned up).

      CMS issued clearly unlawful FAQs to transform CHIP, impose new

obligations on States, and amend its regulations. Thunder Basin does not insulate

the agency from district-court review of that action.

                                  ARGUMENT

      Federal district courts “have original jurisdiction” over “all civil actions

arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C.

§ 1331 (emphasis added). “Not some or most—but all.” Cochran v. SEC, 20 F.4th

194, 199 (5th Cir. 2021) (en banc), aff’d sub nom. Axon Enter., Inc. v. FTC, 598

U.S. 175 (2023). That includes claims under the APA. And “when a federal

court has jurisdiction, it also has a ‘virtually unflagging obligation … to exercise’

that authority.” Mata v. Lynch, 576 U.S. 143, 150 (2015) (quoting Colo. River

Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976)).

      In narrow circumstances, “[a] special statutory review scheme … may

preclude district courts from exercising jurisdiction over challenges to federal

agency action.” Axon, 598 U.S. at 185. That exception applies only where the

scheme “displays a ‘fairly discernible’ intent to limit jurisdiction, and the claims

at issue ‘are of the type Congress intended to be reviewed within the statutory



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structure.’” Free Enter. Fund, 561 U.S. at 489 (cleaned up) (quoting Thunder

Basin, 510 U.S. at 207, 212). Courts first look to the relevant statute’s “text,

structure, and purpose.” Elgin, 567 U.S. at 10. The Supreme Court has also

“identified three considerations designed to aid in that inquiry, commonly

known now as the Thunder Basin factors.” Axon, 598 U.S. at 186.

      Numerous district courts have concluded that section 1316(a) does not

impliedly preclude their jurisdiction over agency rulemaking like the FAQs. See,

e.g., Texas v. Brooks-LaSure, 680 F. Supp. 3d 791, 806–07 (2023) (CMS bulletin);

Florida v. HHS, No. 8:24-cv-1080, 2024 WL 3537510, at *7–8 (M.D. Fla. July 3,

2024) (Jung, J.) (HHS regulation); Stangler v. Shalala, No. 2:94-cv-4221, 1994

WL 764104, at *2–3 (W.D. Mo. Dec. 28, 1994) (HHS letter). Even more have

exercised jurisdiction over APA claims that challenge CMS actions affecting

state obligations under Social Security Act programs. See, e.g., Baptist Mem’l

Hosp.-Golden Triangle, Inc. v. Azar, No. 3:17-cv-491, 2018 WL 3118703, at *1

(S.D. Miss. June 25, 2018) (CMS FAQs) (collecting cases), rev’d on other grounds,

956 F.3d 689 (5th Cir. 2020); Alabama v. CMS, 780 F. Supp. 2d 1219 (M.D. Ala.

2011) (SHO Letter).

      This case is no different.




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 I.   THE THUNDER BASIN FRAMEWORK FOR IMPLIED PRECLUSION

      In Thunder Basin, the Supreme Court considered whether the

administrative review provisions of the Federal Mine Safety and Health

Amendments Act of 1977 (“Mine Act”), Pub. L. No. 95-164, 91 Stat. 1290,

precluded district-court jurisdiction over a coal company’s challenge to an

anticipated citation for violating a Mine Act regulation. 510 U.S. at 202–06. The

company argued, in relevant part, that the application of the regulation was

unlawful. Id. at 205.

      After reviewing the statute’s “language,” “structure,” “purpose,” and

“legislative history,” the Court concluded that the Mine Act stripped the district

court of jurisdiction over the company’s claims. Id. at 207. The Court observed

that the Mine Act “establishes a detailed structure” for administrative review of

“violations of ‘any mandatory health or safety standard, rule, order, or

regulation promulgated’ under the Act.” Id. (citing Mine Act, 30 U.S.C.

§ 814(a)). Although the Mine Act was “facially silent with respect to pre-

enforcement claims,” the Court concluded that its “structure … demonstrates

that Congress intended to preclude” such challenges. Id. at 208. The Court then

explained that the company’s specific claims were “of the type Congress

intended to be reviewed within this statutory structure” because preclusion



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would not “foreclose all meaningful judicial review,” the claims were not

“wholly collateral” to the statute’s review provision, and the claims were not

“outside the agency’s expertise.” Id. at 207, 212–15 (cleaned up).

      Accordingly, “[t]o determine whether it is ‘fairly discernible’ that

Congress precluded district court jurisdiction over petitioners’ claims,” courts

look to the relevant statute’s “text, structure, and purpose.” Elgin, 567 U.S. at

10. Courts also examine the Thunder Basin factors and “presume that Congress

does not intend to limit jurisdiction” when (1) “preclusion could foreclose all

meaningful judicial review,” (2) “the suit is wholly collateral to a statute’s review

provisions,” and (3) “the claims are outside the agency’s expertise.” Free Enter.

Fund, 561 U.S. at 489 (cleaned up); see also Tennessee v. Dep’t of Educ., 104 F.4th

577, 605 (6th Cir. 2024); Feds for Med. Freedom v. Biden, 63 F.4th 366, 370 (5th

Cir.) (en banc), judgment vacated as moot, 144 S. Ct. 480 (2023); Cochran, 20 F.4th

at 199. The Court has been clear that “the same conclusion might follow if the

factors point in different directions.” Axon, 598 U.S. at 186. “The ultimate

question is how best to understand what Congress has done—whether the

statutory review scheme, though exclusive where it applies, reaches the claim in

question.” Id.




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II.   SECTION 1316(A) DOES NOT APPLY TO FLORIDA’S CLAIMS

      The text, structure, and purpose of section 1316(a) demonstrates that

Congress did not intend to preclude district-court review of the standard-fare

APA claims in this case. Section 1316(a), applicable to CHIP through 42 U.S.C.

§ 1397gg(e)(2), provides that “[w]henever a State plan is submitted to [CMS] by

a State for approval,” the agency has 90 days to “make a determination as to

whether it conforms” to the applicable federal requirements. 42 U.S.C.

§ 1316(a)(1). A State “dissatisfied” with that determination “may … file a

petition with the Secretary for reconsideration,” limited to “the issue of whether

such plan conforms to the requirements for approval.” Id. § 1316(a)(2). A State

that remains dissatisfied with the Secretary’s “determination … on such a

reconsideration” may then “file … a petition for review of such determination”

with the court of appeals. Id. § 1316(a)(3).10

      Section 1316(a) thus provides for administrative review of a narrow set of

CMS actions—“determinations” that a state CHIP plan or plan amendment

submitted for approval does not conform to federal requirements. Id. § 1316(a)–




      10
        Section 1316(a) also allows States to petition for review of certain other
“final determination[s] of the Secretary” under Social Security Act provisions
inapplicable here. 42 U.S.C. § 1316(a)(3).


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(b). Moreover, it limits review to “the issue of whether such plan conforms to

the requirements for approval.” Id. § 1316(a)(2).

      The plain language of section 1316(a) does not apply to the APA claims

in this case. Florida does not challenge any CMS determination related to a state

CHIP plan or plan amendment submitted for approval. And even if it did, the

issues Florida raised—whether the FAQs are contrary to law, in excess of

authority, arbitrary and capricious, and followed necessary procedures—are

beyond the scope of review that section 1316(a) allows. See, e.g., Stangler, 1994

WL 764104, at *2–3 (“Section 1316(a) merely provides that, when the Secretary

rejects a state plan, the state is entitled to an administrative hearing and, if

dissatisfied with the Secretary’s final determination, may seek review in the

Court of Appeals.… There is no indication in the statute that judicial review is

precluded when the Secretary has not rejected … a state plan.”).

      Section 1316(a) is also phrased in “permissive terms.” Tennessee, 104 F.4th

at 604; Cochran, 20 F.4th at 200. It provides that a State “may” seek

reconsideration of an adverse CMS determination from the Secretary and a

federal court of appeals. 42 U.S.C. § 1316(a)(2)–(3); see also id. § 1397ff(b)(1)

(explaining a State “may” seek to amend its CHIP plan). The statute “does not

say that anyone ‘shall’ or ‘shall not’ do anything,” and “[i]t would be troublingly



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counterintuitive to interpret … permissive language as eliminating alternative

routes to federal court review.” Cochran, 20 F.4th at 201; see Tennessee, 104 F.4th

at 604 (similar).

      The structure of section 1316(a)’s review scheme confirms that Congress

did not intend it to encompass ordinary APA claims that are independent of

state CHIP plan determinations. Section 1316(a) provides a reticulated timeline

for review of such determinations. Once a State submits a CHIP plan or plan

amendment, CMS must make a determination “within 90 days after” receipt.

42 U.S.C. § 1316(a)(1); see also id. § 1397ff(c)(2) (authorizing CMS to instead

indicate that “specified additional information is needed”). Otherwise, the plan

“is considered approved.” Id. § 1397ff(c)(2). A State dissatisfied with CMS’s

determination has 60 days to petition the HHS Secretary for reconsideration. Id.

§ 1316(a)(2). The Secretary then has 30 days to notify the State of the time and

date of the hearing, which must be within 20 to 60 days of the notice, and 60

days after the conclusion of the hearing to issue a final determination, which can

be challenged in a federal court of appeals. Id. § 1316(a)(2)–(3). That means a

State is assured that within approximately 300 days of submitting its plan (or

less, if the State seeks reconsideration expeditiously), it can submit its claims to

a federal court for adjudication.



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      This statutorily imposed timeline confirms that Congress created a narrow

scheme for expeditious review of state CHIP plan determinations. No such

timeline or assurance exists for Florida’s claims because they do not challenge a

“determination” on a state CHIP plan “submitted … for approval.” Id.

§ 1316(a)(1). In fact, the district court’s decision means Florida is never assured

of review at all. Florida must wait for CMS to deem the State to be in

“substantial noncompliance.” 42 C.F.R. § 457.204(a)–(c). That could happen

next week, next month, or next year. Florida would then be subject to an open-

ended agency review process which places no deadlines on CMS. Id.

§ 457.204(d). Judicial review of CMS decisions related to already-approved state

CHIP plans or “noncompliance in practice,” id. § 457.204(b)–(c), is also outside

the plain language of section 1316(a). To the extent CMS regulations suggest

such review is available, see id. §§ 457.206(a), 457.208(a), that cannot preclude

Article III jurisdiction otherwise conferred by Congress. See also infra Part III.A.

      The purpose of section 1316(a) reinforces that it does not cover Florida’s

APA claims. “Congress wanted to make sure that states could get prompt

judicial review of [plan-nonconformity] determinations in the courts of

appeals.” State of Ill., Dep’t of Pub. Aid v. Schweiker, 707 F.2d 273, 277 (7th Cir.

1983). The review provision is thus concerned with “plan-conformity



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dispute[s],” not general matters of administrative law. State Dep’t of Pub. Welfare

of State of Tex. v. Califano, 556 F.2d 326, 330 (5th Cir. 1977). There is no “dispute”

about plan conformity here, and requiring Florida to wait indefinitely would do

nothing to further the prompt judicial resolution of Florida’s claims.

      The district court was wrong to conclude that it lacked jurisdiction

because “there is a valid statutory review scheme that provides for some level of

exclusive agency review” of some claims. Doc.32, at 8 (Dist.Ct.Order). A

statutory review scheme only “divests district courts of their ordinary

jurisdiction over the covered cases.” Axon, 598 U.S. at 185 (emphasis added); see

also Cochran, 20 F.4th at 200 (rejecting the argument that “[b]y giving some

jurisdiction to the courts of appeals … Congress implicitly stripped all

jurisdiction from every other court”). But the district court held that section

1316(a) forecloses its jurisdiction over even the promulgation of regulations and

compliance with notice-and-comment requirements. There is no indication that

Congress had such an expansive, unspoken intent. Axon, 598 U.S. at 186.

      The text, structure, and purpose of section 1316(a) do not display a “fairly

discernible” intent to preclude district-court jurisdiction over Florida’s claims.

Elgin, 567 U.S. at 10. That decides the matter. Id.; Tennessee, 104 F.4th at 605;

Feds for Med. Freedom, 63 F.4th at 378; Cochran, 20 F.4th at 199–201.



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III.   THE THUNDER BASIN FACTORS CONFIRM THE DISTRICT COURT’S
       JURISDICTION

       The Thunder Basin factors confirm that standard-fare APA claims like

Florida’s are not “the type that Congress intended to be reviewed” under section

1316(a). Elgin, 567 U.S. at 15. All three factors point toward district court

jurisdiction, although any one would be sufficient in this case. See Axon, 598 U.S.

at 186 (“[T]he same conclusion might follow if the factors point in different

directions.”).

       A.    IMPLIED PRECLUSION COULD FORECLOSE ALL MEANINGFUL
             REVIEW OF FLORIDA’S CLAIMS

       Courts “presume that Congress does not intend to limit jurisdiction” if

preclusion “could foreclose all meaningful judicial review.” Free Enter. Fund, 561

U.S. at 489 (cleaned up). Even the possibility that judicial review could be

unavailable is enough to defeat implied preclusion. Cochran, 20 F.4th at 209–10.

Implied preclusion would have that effect here.

       Florida has not submitted—and does not intend to submit—an

amendment to its CHIP plan to conform to the FAQs because doing so would

violate state law. Fla. Stat. §§ 409.8132(8), 624.91(5)(b)(9). Florida thus has no

way to receive a “determination” reviewable under section 1316(a). Similarly, if

Florida complies with the FAQs and stops disenrolling CHIP participants for




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nonpayment of premiums, there will never be an adverse CMS “determination”

and Florida will again “be left unable to seek redress.” Cochran, 20 F.4th at 209;

see also Texas v. Brooks-LaSure, 680 F. Supp. 3d at 807 (“If Texas abides by the

potentially unlawful [CMS] Bulletin, it will not receive a ‘final adverse order,’

and ‘may thus be left unable to seek redress.’”).

      Florida suffers irreparable harm in the meantime. Florida law requires

disenrolling CHIP participants for nonpayment of premiums, whereas the FAQs

prohibit that disenrollment and purport to preempt Florida law. A “state clearly

has a legitimate interest in the continued enforceability of its own statutes,”

Maine v. Taylor, 477 U.S. 131, 137 (1986), and “inability to enforce its duly

enacted plans clearly inflicts irreparable harm on the State,” Abbott v. Perez, 585

U.S. 579, 602 n.17 (2018). Accordingly, “when a federal regulation purports to

preempt state law,” the State is injured and has “a sovereign interest to sue the

United States.” Tennessee, 104 F.4th at 591 (quoting Kentucky v. Biden, 23 F.4th

585, 598 (6th Cir. 2022)); see West Virginia v. U.S. Dep’t of the Treasury, 59 F.4th

1124, 1136 (11th Cir. 2023) (unlawful spending “condition is a present and

continuous infringement on state sovereignty”); Florida v. Nelson, 576 F. Supp.

3d 1017, 1032 (M.D. Fla. 2021) (“state suffers sovereign injury when unlawful

agency action preempts state law”); Texas v. Becerra, 577 F. Supp. 3d 527, 557



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(N.D. Tex. 2021) (“[I]rreparable harm exists when a federal regulation prevents

a state from enforcing its duly enacted laws.”). A State even has an “interest in

not being pressured to change its law.” Texas v. United States, 787 F.3d 733, 752

n.38 (5th Cir. 2015). And Florida would never be able to recover funds spent to

comply with the FAQs—providing free coverage (in violation of Florida law) to

CHIP participants who should be disenrolled for failing to pay monthly

premiums—because CMS enjoys sovereign immunity. Odebrecht Constr., Inc. v.

Sec’y, Fla. Dep’t of Transp., 715 F.3d 1268, 1289 (11th Cir. 2013).

      The district court reasoned “[t]here is no indication that the Eleventh

Circuit is incapable of meaningfully reviewing Florida’s APA claims.” Doc.32,

at 10 (Dist.Ct.Order). That misses the point. This Court may never have the

opportunity to review Florida’s claims. See also supra Part II. And if it does, that

would be too little, too late. As further discussed below, these “here-and-now”

injuries are irreparable.11



      11
         The district court’s citation to West Virginia v. Thompson, 475 F.3d 204
(4th Cir. 2007), is inapposite. See Doc.32, at 10 (Dist.Ct.Order). That case
involved a challenge to CMS’s disapproval of an amendment to West Virginia’s
Medicaid plan, the precise determination to which section 1316(a) applies. West
Virginia, 475 F.3d at 209. Unlike here, there was no question whether CMS’s
disapproval was subject to district court review.




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      Florida’s only remaining option is to “bet the farm”—by waiting for a

CMS enforcement action and the associated risk of losing federal funding, all

the while suffering irreparable sovereign harm—“before testing the validity” of

the FAQs. Free Enter. Fund, 561 U.S. at 490–91 (cleaned up). Under Supreme

Court precedent, that is not “a ‘meaningful’ avenue of relief” that precludes

district court jurisdiction. Id.

      The district court dismissed this argument, claiming that its decision

“would merely require Florida to do what all states must do in order to receive

or retain federal CHIP funding—submit their CHIP plan to CMS and allow

CMS to review it before seeking judicial review.” Doc.32, at 13 (Dist.Ct.Order).

That fundamentally misunderstands section 1316(a), which only provides for

review of state CHIP plans or plan amendments “submitted … for approval.”

42 U.S.C. § 1316(a)(1). Florida already has an approved CHIP plan and does

not seek to amend it. There is no mechanism for review under section 1316(a).

      The district court also reasoned that Florida’s injuries do “not belong in

the category of injuries that justify immediate district court intervention.”

Doc.32, at 12 (Dist.Ct.Order). That is wrong. Like claims that “challenge

structural legitimacy and imply a right not to be subjected to actions and

proceedings at all,” id. at 12–13 (discussing Free Enterprise Fund), sovereign harm



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is an irreparable “‘here-and-now injury’” that “is impossible to remedy once the

proceeding is over, which is when appellate review kicks in.” Axon, 598 U.S. at

191.

       States suffer additional “‘here-and-now injury’” when the challenged

action “has immediate effects on the States’ ordering of their own affairs.”

Tennessee, 104 F.4th at 606; see also Florida v. Nelson, 576 F. Supp. 3d at 1039–40.

By the time administrative proceedings—with no guaranteed start or end date—

conclude and an appellate court could potentially adjudicate the legality of the

FAQs, Florida will have repeatedly faced the “constitutionally intolerable

choice” of violating either the laws enacted by its legislature or the FAQs.

Thunder Basin, 510 U.S. at 218; see Texas v. United States, 787 F.3d at 752 n.39.

No later judicial proceeding can remedy this current—and recurring—

irreparable harm to Florida’s sovereign interests. In other words, “[j]udicial

review … would come too late to be meaningful.” Axon, 598 U.S. at 191.

       Moreover, CMS’s review process is not designed to result in a judicially

reviewable determination. CMS has assumed broad authority by regulation to

investigate state CHIP plans, seeking state records and conducting on-site

reviews to determine compliance. 42 C.F.R. § 457.200. Once CMS has made a

finding of non-compliance, the State is entitled to a hearing. Id. § 457.204(d)(4).



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But as CMS explained below, the agency “generally does not hold a hearing

until it has made a reasonable effort to resolve the issue through conferences and

discussions.” Doc.22, at 10 (CMS.Opp’n.Br.) (citing 42 C.F.R. § 457.204(a)(2)).

Open-ended “discussions” with a regulating body under threat of an

enforcement action, however, too often transmute into strong-arming. And, in

any event, “[b]oth parties are incentivized (one by statute and regulation, the

other by practical realities, costs, and the threat of enforcement action) to resolve

the matter informally.” Tennessee, 104 F.4th at 606.

       “The point is that investigations, informal coercion, and compliance

agreements are where Title [XXI] is ‘litigated,’” and CMS “doesn’t contend that

matters resolved ‘informally’ are subject to any sort of judicial review.” Id. At

most, “a process that requires administrative review first and judicial review

second would prove costly and dilatory for all parties involved.” Id. at 605 n.27.

Judicial review of agency proceedings is too little, too late to be meaningful, if

it’s available at all.

       The first Thunder Basin factor therefore weighs against implied preclusion.

Because there is a “strong presumption favoring judicial review of

administrative action,” Salinas v. U.S. R.R. Ret. Bd., 592 U.S. 188, 197 (2021)

(quoting Mach Mining, LLC v. EEOC, 575 U.S. 480, 486 (2015)), the possibility it



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may be unavailable if the district court does not exercise jurisdiction should be

dispositive.

      B.       FLORIDA’S CLAIMS ARE WHOLLY COLLATERAL TO SECTION
               1316(A)

      Courts “presume that Congress does not intend to limit jurisdiction” over

claims that are “wholly collateral to a statute’s review provisions.” Free Enter.

Fund, 561 U.S. at 489 (cleaned up). The APA claims in this case are wholly

collateral to any plan-specific “determination” under section 1316(a).

      Florida is not challenging a CMS “determination” or asking a court to

decide whether its CHIP plan complies with Title XXI. Instead, Florida claims

the FAQs are contrary to law, in excess of authority, arbitrary and capricious,

and failed to comply with notice-and-comment rulemaking. These claims do not

“address the sorts of procedural or evidentiary matters” that CMS ordinarily

resolves when approving state CHIP plans. Axon, 598 U.S. at 193. They do not

require assessing the details of Florida CHIP (or any other state CHIP plan) or

determining how the FAQs apply to a particular set of facts. The issues raised

by Florida are independent of—and so wholly collateral to—review of any state

plan approval under section 1316(a).

      Similarly, APA claims are not “the type of … action regularly

adjudicated” by CMS under section 1316(a). Elgin, 567 U.S. at 22. Reviewing


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agency rulemaking is collateral to making an approval determination on any

state CHIP plan. This is particularly true of the procedural claims that Florida

raises. Neither section 1316(a) nor CMS regulations provide for consideration

of agency compliance with APA procedures. See 42 U.S.C. § 1316(a); 42 C.F.R.

§§ 457.204, 457.206, 457.208.

      The relief that Florida ultimately seeks—that the FAQs be declared

unlawful and set aside—is also not the kind of remedy that CMS “routinely

affords” when approving state CHIP plans. Elgin, 567 U.S. at 22; Cochran, 20

F.4th at 207 (“whether a claim is collateral to the relevant statutory-review

scheme depends on whether that scheme is intended to provide the sort of relief

sought by the plaintiff”). Section 1316(a) only provides for approving state CHIP

plans and plan amendments. CMS has never suggested that it “routinely” uses

such review to ensure compliance with the APA and declare its own regulations

unlawful and set them aside. That, instead, is the job of the district court. See,

e.g., 5 U.S.C. §§ 703, 706; 28 U.S.C. §§ 1331, 2201.

      Contrary to the district court’s passing suggestion, procedural claims are

not “inextricably intertwined” with any state plan determination subject to

section 1316. See Doc.32, at 15 n.1 (Dist.Ct.Order) (quoting Heckler v. Ringer,

466 U.S. 602, 614 (1984)). Deciding whether CMS followed notice-and-



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comment rulemaking requirements in issuing the FAQs requires no knowledge

of Florida CHIP (or any other state CHIP plan), nor will the claim be affected

by any plan-specific determination. And, unlike the plaintiffs in Heckler, Florida

seeks only traditional remedies for improperly promulgated regulations—

declaring unlawful and vacating the FAQs. Cf. Heckler, 466 U.S. at 614 (“[T]he

relief that respondents seek to redress their supposed ‘procedural’ objections is

the invalidation of the Secretary’s current policy and a ‘substantive’ declaration

from her that the expenses of [bilateral carotid body resection] surgery are

reimbursable under the Medicare Act.”). Heckler was also concerned with

administrative exhaustion under a different statutory review scheme. Id. at 617–

18. The lawfulness of the FAQs and whether Florida CHIP complies with them

are two separate issues.

      The district court also relied on Doe v. Federal Aviation Administration

(“FAA”), 432 F.3d 1259 (11th Cir. 2005), but that case is readily distinguishable.

See Doc.32, at 14–15 (Dist.Ct.Order). In Doe, the FAA determined that certain

pilots must be reexamined to verify competency. 432 F.3d at 1260. After being

notified, the affected pilots claimed a violation of due process and sued for “a

preliminary injunction instructing the FAA how to proceed in its process of

reexamination.” Id. This Court held that the claims fell in the heartland of the



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statute at issue, which permitted the FAA to “reexamine an airman already

holding a certificate,” and provided a detailed administrative scheme for pilots

to challenge an order “that an airman’s certificate be amended, modified,

suspended or revoked.” Id. at 1262. Even the pilots did not dispute that the

administrative review board was “uniquely suited and designated by statute as

the sole entity to consider an … initial challenge to FAA certificate action.” Id.

And this Court concluded the due-process claims were “‘inescapably

intertwined’” with “review of the procedures and actions taken by the FAA with

regard to the mechanics’ certificates.” Id. at 1263.

      By contrast, Florida does not seek a court order telling CMS what

procedures it must follow when reviewing state CHIP plans. Florida’s claims are

also not related to any state plan determination or other issue that CMS is

“uniquely suited and designated by statute as the sole entity to consider.” Id. at

1262. Florida claims that the FAQs are contrary to law, in excess of authority,

arbitrary and capricious, and failed to follow required procedures, none of which

invoke CMS’s “uniqu[e]” expertise in administering CHIP. Id.; see also Loper

Bright Enters. v. Raimondo, 144 S. Ct. 2244, 2273 (2024) (“Courts must exercise

their independent judgment in deciding whether an agency has acted within its

statutory authority, as the APA requires.”); infra Part III.C. Nor does the Social



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Security Act designate CMS as “the sole entity to consider” these or similar

issues of administrative law, Doe, 432 F.3d at 1262, especially whether CMS

failed to engage in notice-and-comment rulemaking. Rather, that authority is

given to the district court. 5 U.S.C. §§ 701–706; 28 U.S.C. § 1331.

      The second Thunder Basin factor thus weighs against implied preclusion.

Because it’s not logical that Congress would require a party to seek (or wait for)

agency review of a claim wholly collateral to the agency action, that should be

dispositive. Cf. Martin v. Shalala, 63 F.3d 497, 504 (7th Cir. 1995) (administrative

exhaustion is “unnecessary if the claim is collateral to the claim for benefits and

if requiring exhaustion would cause irreparable harm” (cleaned up)).

      C.    FLORIDA’S CLAIMS ARE OUTSIDE CMS’S EXPERTISE

      Courts “presume that Congress does not intend to limit jurisdiction” over

claims that are “outside the agency’s expertise.” Free Enter. Fund, 561 U.S. at

489 (cleaned up). CMS has no special competence or expertise here.

      This case involves straightforward “statutory questions” and “standard

questions of administrative law, which the courts are at no disadvantage in

answering.” Id. at 491; see Florida v. HHS, 2024 WL 3537510, at *7–8 (Jung, J.)

(claims that “ultimately present legal APA and constitutional issues … are

outside of HHS and CMS’s expertise”); Texas v. Brooks-LaSure, 680 F. Supp. 3d




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at 807 (conventional APA claims are outside of CMS’s expertise). The claims

here are purely legal, and it is the competence—and duty—of federal courts to

“decide all relevant questions of law, interpret constitutional and statutory

provisions, and determine the meaning or applicability of … terms” without

deference to an agency. 5 U.S.C. § 706; see Loper Bright, 144 S. Ct. at 2273. And,

in any event, the agency can readily explain its statutory interpretation in

briefing, as it did to the district court. Doc.22, at 19–27 (CMS.Opp’n.Br.).

      The claims here involve no “‘technical considerations of [agency] policy’”

or “fact-bound inquiries.” Free Enter. Fund, 561 U.S. at 491 (quoting Johnson v.

Robison, 415 U.S. 361, 373 (1974)). Indeed, CMS argued that the FAQs are not

a matter of policy, but “follow[ed] from the … plain text” of the 2023 CAA

amendments. Doc.22, at 19–22 (CMS.Opp’n.Br.). By defending the FAQs

based “purely” on “congressional intent,” and making “no effort to justify the

[FAQs] in factual terms,” CMS undermined any justification for agency

expertise. Abbott Lab’ys v. Gardner, 387 U.S. 136, 149 (1967). There is no CMS

expertise that “could be brought to bear” on Florida’s claims during




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administrative proceedings. Elgin, 567 U.S. at 23 (quoting Thunder Basin, 510

U.S. at 215).12

      The lack of applicable agency expertise is even more obvious with respect

to Florida’s procedural claims. CMS “knows … nothing special” about notice-

and-comment requirements, nor has it claimed to. Axon, 598 U.S. at 194.

Recognizing this, courts regularly exercise jurisdiction over procedural APA

claims, even where adjacent statutory review schemes exist. See, e.g., Texas v.

Brooks-LaSure, 680 F. Supp. 3d at 807.

      The third Thunder Basin factor thus weighs against implied preclusion.

Because it’s not logical that Congress would require a party to seek (or wait for)

agency review of a claim outside that agency’s expertise, that should be




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         That makes this case unlike the unpublished decision in New York v.
HHS, No. 1:07-cv-8621, 2008 WL 5211000 (S.D.N.Y. Dec. 15, 2008), cited by
the district court. See Doc.32, at 10–11 (Dist.Ct.Order). New York involved a
challenge by several States to a SHO Letter about procedures to ensure state
CHIP plans did not “crowd out” private insurance. New York, 2008 WL
5211000, at *5. The district court held that the challenge was not ripe, id. at *10–
15, and that section 1316 impliedly stripped it of jurisdiction to hear the claims,
id. at *15–16. Relevant to both holdings, the New York court concluded that the
claims “need[ed] further factual development” by CMS, in part because there
were “substantial unresolved questions about enforcement and application of
the SHO Letter guidelines.” Id. at *12–13. Here, neither CMS nor the district
court has pointed to any such “fact-bound inquiries” that require application of
agency expertise. Free Enter. Fund, 561 U.S. at 491.


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dispositive. Cf. Free Enter. Fund, 561 U.S. at 489 (“[W]hen Congress creates

procedures designed to permit agency expertise to be brought to bear on particular

problems, those procedures are to be exclusive.” (emphasis added) (cleaned up)).

                                  *     *       *

      All three Thunder Basin factors weigh against precluding district-court

jurisdiction over Florida’s claims. And even “if the factors point in different

directions,” Axon, 598 U.S. at 186, any one of them is sufficient to foreclose

implied preclusion here. The district court therefore erred in dismissing the case.

                                CONCLUSION

      Because the Social Security Act does not display a “fairly discernible”

intent to preclude the APA claims in this case, and moreover the Thunder Basin

factors weigh against impliedly precluding district-court jurisdiction, this Court

should reverse.




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                    CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the type-volume limitations

of Federal Rule of Appellate Procedure 32(a)(7) because it contains 8,819 words,

excluding the portions exempted by Rule 32(f). This brief complies with the

typeface and type style requirements of Federal Rule of Appellate Procedure

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                        CERTIFICATE OF SERVICE

      I hereby certify that on September 18, 2024, I electronically filed the

foregoing document with the Clerk of this Court by using the CM/ECF system,

which will serve all parties automatically.


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